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INORMAN COUSINS SASAMORI, J.D., LL.M.
California Bar Number: 170014 ~
LAW OFFICES OF NORMAN COUSINS SASAMORI
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Beverly Hills, California 90211
Telephone: (310) 821-9903
Facsimile: (310) 832-4460
Email: ncsasamori@roadrunner.com

Attorney for Defendant
Hisayoshi Kojima
UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, CR No. CR-06-595-GPS, Kojima;

 

DECLARATION OF

NORMAN COUSINS SASAMORI
IN RESPONSE TO OSC RE:
FAILURE TO APPEAR

Plaintiff,
Vv.
HISAYOSHI KOJIMA,

Defendant.

COURTROOM: 7

DATE : August 4, 2008
TIME : 1:30 P.M.
JUDGE : G.P. Schiavelli

 

DECLARATION OF NORMAN COUSINS SASAMORI

I, NORMAN COUSINS SASAMORI, am licensed to practice law in
the State of California and admitted to the above-captioned
court. I have personal knowledge of and am competent to testify
to the facts set forth below.

1. This constitutes my Declaration in response to the Order
to Show Cause regarding failure to appear for the hearing on June
30, 2008.

2. Before leaving for my pre-paid trip to Japan on June 17,
2008, I filed the Notice of Motion and Motion to be Relieved as

Counsel, advised the court clerk about my trip and arranged for

DECLARATION OF NORMAN COUSINS SASAMORI
IN RESPONSE TO OSC RE: FAILURE TO APPEAR
Case No. CR-06-595-GPS

 

 

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attorney Daniel Perlman to specially appear for me on June 30,
2008.

3. While in Japan, my father-in-law required urgent medical
attention. Moreover, on June 20, 2008, my sixteen month old son
was taken to the Ebina Sogo Hospital emergency room due to an
asthma attack. The doctor advised us to monitor him closely.
Shortly thereafter, he was hospitalized in Sagamihara National
Hospital wherein he was hooked-up to a respirator and an I.V. for
approximately one week, as evidenced by the receipt incorporated
herein by reference and attached hereto as Exhibit A. My wife
and I took turns staying with him every hour that the hospital
allowed. Upon his temporary discharge, evidenced by the
temporary discharge form, incorporated herein by reference and
attached hereto as Exhibit B, and after discharge we continued to
monitor his health closely. Upon our return, he had another
asthma attack that we treated at home with prescribed medication
and a respirator. Appropriate follow-up medical treatment is
still required per the Japanese physician’s letter.

I declare, under penalty of perjury, that the foregoing is

true and correct.

Date: August 1, 2008 Respectfully submitted,

 

By: : = -

“NORMAN COUSINS SASAMORI

DECLARATION OF NORMAN COUSINS SASAMORI
IN RESPONSE TO OSC RE: FAILURE TO APPEAR
2 Case No. CR-06-595-GPS

 

 
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EXHIBIT “A”
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EXHIBIT “B”

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CERTIFICATE OF SERVICE
(1013a, 2015.5 C.C.P)

STATE OF CALIFORNIA )
)
COUNTY OF LOS ANGELES  )

I am employed in the aforesaid county; I am over the age of
eighteen years and not a party to the within entitled action;

my business address is: 9025 Wilshire Boulevard, Penthouse Suite,
Beverly Hills, California 90211.

On August 1, 2008, I served the within DECLARATION OF NORMAN
COUSINS SASAMORI IN RESPONSE TO THE OSC RE: FAILURE TO APPEAR, on
all interested parties in said action,

by transmitting via E-Mail a true copy thereof to:

Joseph Johns, Assistant U.S. Attorney

at joseph. johns@usdoj.gov and

Brent Whittlesey, Assistant U.S. Attorney
at: Brent.Whittlesey@usdo].gov.

I caused said documents to be E-Mailed at Beverly Hills,
California.

I declare that I am a member of the bar of this Federal court.

Dated: August 1, 2008 La Ks
NGRMAN COUSINS SASAMORI

DECLARATION OF NORMAN COUSINS SASAMORI
IN RESPONSE TO OSC RE: FAILURE TO APPEAR
3 Case No. CR-06-595-GPS

 

 
